                                                                                                                         Page 1 of 6


                                IN THE UNITED STATES DISTRICT COURT FOR THE
                                               WESTERN DISTRICT OF MISSOURI
                                                    CENTRAL DIVISION

UNITED STATES OF AMERICA

-vs-                                                                        Case No.: 10-04036-02-CR-C-NKL

CHARITY JEAN STEINBRINK

                                                                            USM Number: 22492-045

                                                                            Scott Hamblin, CJA


___________________________________

                                                JUDGMENT IN A CRIMINAL CASE


The defendant pleaded guilty to Count 1 and 2 of the Third Superseding Indictment on December 8, 2011. Accordingly, the
court has adjudicated that the defendant is guilty of the following offense(s):

                                                                                                 Date Offense          Count
       Title & Section                                  Nature of Offense                         Concluded          Number(s)

 21 U.S.C. 841(a)(1),            Conspiracy to Distribute 500 Grams or More of                 January 31, 2010          1
 841(b)(1)(A) and 846            Methamphetamine

 21 U.S.C. 841(a)(1),            Possession with Intent to Distribute 50 Grams or              January 31, 2010          2
 841(b)(1)(B)                    More of Methamphetamine

 21 U.S.C. 841(a)(1),            Possession with Intent to Distribute 50 Grams or              January 31, 2010          2
 841(b)(1)(B)                    More of Methamphetamine

The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                            Date of Imposition of Sentence: August 23, 2012




                                                                            s/ NANETTE LAUGHREY
                                                                            NANETTE LAUGHREY
                                                                             UNITED STATES DISTRICT JUDGE

                                                                            August 24, 2012



AO 245B (Rev. 9/08- 2/10) Judgment in a Criminal Case
                  Case 2:10-cr-04036-BCW                    Document 209          Filed 08/24/12      Page 1 of 6
CHARITY JEAN STEINBRINK                                                                                          Page 2 of 6
10-04036-02-CR-C-NKL

                                                        IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 151 months on Counts 1 and 2, to be served concurrently. This sentence to be served concurrently
with any sentence executed in Moniteau County Case Nos. 08M5-CR00361-01 and 05M5-CR00444-01.

         The Court recommends to the Bureau of Prisons:

                   The defendant be designated to an institution for participation in the 500-hour residential
                   substance abuse treatment program. The defendant be placed as close as possible to
                   her family in southern Minnesota.

         The defendant is remanded to the custody of the United States Marshal.




                                                          RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.


                                                                                __________________________________
                                                                                       UNITED STATES MARSHAL


                                                                            By:__________________________________
                                                                                        Deputy U.S. Marshal




AO 245B (Rev. 9/08- 2/10) Judgment in a Criminal Case
                  Case 2:10-cr-04036-BCW                Document 209        Filed 08/24/12        Page 2 of 6
CHARITY JEAN STEINBRINK                                                                                                  Page 3 of 6
10-04036-02-CR-C-NKL

                                                        SUPERVISED RELEASE

         Upon release from imprisonment, the defendant shall be on supervised release for a term of 5 years on Counts 1 and
2, to run concurrently.

        The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of
release from custody of the Bureau of Prisons.

         The defendant shall not commit another federal, state or local crime.

         The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful
use of a controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as determined by the court.

         The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.

       If this judgment imposes a fine or restitution, it is a condition of supervision that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.

        The defendant must comply with the standard conditions that have been adopted by this court as well as with any
additional conditions on the attached page.

                                      STANDARD CONDITIONS OF SUPERVISION

1.       The defendant shall not leave the judicial district without the permission of the court or probation officer;

2.       The defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;

3.       The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
         officer;

4.       The defendant shall support his or her dependents and meet other family responsibilities;

5.       The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling,
         training, or other acceptable reasons;

6.       The defendant shall notify the probation officer at least ten (10) days prior to any change in residence or employment;

7.       The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or
         administer any controlled substance or any paraphernalia related to any controlled substances, except as prescribed
         by a physician;

8.       The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
         administered;

9.       The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any
         person convicted of a felony, unless granted permission to do so by the probation officer;

10.      The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
         confiscation of any contraband observed in plain view by the probation officer;

11.      The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a
         law enforcement officer;

12.      The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency

AO 245B (Rev. 9/08- 2/10) Judgment in a Criminal Case
                  Case 2:10-cr-04036-BCW                  Document 209      Filed 08/24/12        Page 3 of 6
CHARITY JEAN STEINBRINK                                                                                               Page 4 of 6
10-04036-02-CR-C-NKL

         without the permission of the court;

13.      As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
         defendant’s criminal record or personal history or characteristics, and shall permit the probation officer to make such
         notifications and to confirm the defendant’s compliance with such notification requirement.




AO 245B (Rev. 9/08- 2/10) Judgment in a Criminal Case
                  Case 2:10-cr-04036-BCW                Document 209       Filed 08/24/12        Page 4 of 6
CHARITY JEAN STEINBRINK                                                                                                   Page 5 of 6
10-04036-02-CR-C-NKL

                              ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

         The defendant shall also comply with the following additional conditions of supervised release:

1.       The defendant shall successfully participate in a substance abuse counseling program, which may include urinalysis,
         sweat patch, or Breathalyzer testing, as approved by the Probation Office, and pay any associated costs as directed
         by the Probation Office.


2.       The defendant shall not consume or possess alcoholic beverages or beer, including 3.2 percent beer, at any time.


3.       The defendant shall successfully participate in any mental health counseling program, as approved by the Probation
         Office, and pay any associated costs, as directed by the Probation Office.

4.       The defendant shall submit his person, and any property, house, residence, office, vehicle, papers, computer, other
         electronic communication or data storage devices or media and effects to a search at any time, conducted by a U.S.
         Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband
         or evidence of a violation of a condition of release; failure to submit to a search may be grounds for revocation; the
         defendant shall warn any other residents that the premises may be subject to searches pursuant to this condition.


5.       If the defendant does not earn a GED while incarcerated, he shall provide documentation of participation in GED
         classes while on supervision, and shall provide documentation that he has taken the GED exam.


6.       The defendant shall comply with the Western District of Missouri Offender Employment Guideline which may include
         participation in training, counseling, and/or daily job searching as directed by the probation officer. If not in compliance
         with the condition of supervision requiring full-time employment at a lawful occupation, the defendant may be required
         to perform up to 20 hours of community service per week until employed, as approved or directed by the probation
         officer.


7.       The defendant shall satisfy all warrants and/or pending charges within the first 30 days of supervised release.




                                      ACKNOWLEDGMENT OF CONDITIONS

        I have read or have had read to me the conditions of supervision set forth in this judgment and I fully understand them.
I have been provided a copy of them.

        I understand that upon finding of a violation of probation or supervised release, the Court may (1) revoke supervision,
(2) extend the term of supervision, and/or (3) modify the conditions of supervision.

_______________________________________                   ____________________
Defendant                                                 Date

________________________________________                  ____________________
United States Probation Officer                            Date




AO 245B (Rev. 9/08- 2/10) Judgment in a Criminal Case
                  Case 2:10-cr-04036-BCW                Document 209          Filed 08/24/12         Page 5 of 6
CHARITY JEAN STEINBRINK                                                                                                                        Page 6 of 6
10-04036-02-CR-C-NKL

                                                CRIMINAL MONETARY PENALTIES


       The defendant must pay the total criminal monetary penalties under the schedule of payments set forth in the Schedule
of Payments.

             Total Assessment                                         Total Fine                                     Total Restitution

        $200.00, due immediately.                                           $                                                   $


         The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in
full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the
Schedule of Payments may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

Note: Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for offenses committed
on or after September 13, 1994 but before April 23, 1996.




AO 245B (Rev. 9/08- 2/10) Judgment in a Criminal Case
                   Case 2:10-cr-04036-BCW                       Document 209               Filed 08/24/12            Page 6 of 6
